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                                   DISTRICT JUDGE'S CIVIL MINUTES
                          IN THE UNITED STATES DISTRICT COURT
                              DISTRICT OF ARIZONA – PHOENIX
 U.S. District Judge: Douglas L. Rayes                            Date: November 9, 2021
 Case Number: CV-17-00822-PHX-DLR
 Adams v. Arizona Senate

 APPEARANCES: Plaintiff(s) Counsel                               Defendant(s) Counsel
              Talonya Adams (Pro Se)                             Michael Moberly


 JURY TRIAL (Day 2):

9:01 a.m. Reconvene. Pro Se Plaintiff, Defense Counsel, and Defendant present. Jury present. Leah
Landrum Taylor is sworn and examined. 9:15 a.m. Recess.

9:26 a.m. Reconvene. Parties present. Jury not present. Discussion is held regarding the rule of
exclusion. The Court affirms that the rule has been invoked. Jury enters. Barbara McGuire, appearing
via video teleconference, is sworn and examined. Exhibit 244 is admitted. David Bradley, appearing
via video teleconference, is sworn and examined. Exhibit 242 is admitted. 10:11 a.m. Recess.

10:21 a.m. Reconvene. Parties present. Jury present. Jeffrey Winkler is sworn and examined. Patricia
Osmon is sworn and examined. 11:28 a.m. Jury Excused for break. Court remains in session. Discussion
is held regarding remaining trial time and schedule. 11:30 a.m. Recess.

12:29 p.m. Reconvene. Parties present. Jury present. Examination of Talonya Adams continues with
the assistance of attorney Zarinah Nadir. Exhibit 235 is admitted. Kathleen Hobbs is sworn and
examined. Exhibit 227 is admitted. 1:59 p.m. Jury Excused for break. Court remains in session.
Discussion is held regarding remaining trial time. 2:00 p.m. Recess.

2:16 p.m. Reconvene. Parties present. Jury present. Examination of Kathleen Hobbs continues and is
completed. Examination of Talonya Adams continues and is completed with the assistance of attorney
Zarinah Nadir. 2:49 p.m. Recess.

3:01 p.m. Reconvene. Parties present. Jury present. Martin Quezada is sworn and examined. Plaintiff
rests. Defendant’s case: Defense preserves their right to raise a legal issue outside the presence of the
jury. Defense rests. 3:11 p.m. Jury Excused. Court remains in session. Oral Rule 50 motion is made
by defense for judgment as a matter of law. Oral argument is heard. The motion is taken under
advisement. Discussion is held regarding remaining trial time and schedule.

3:35 p.m. Court is in recess until 9:00 a.m. on November 10, 2021.
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Deputy Clerk: Robert Vasquez                                         JT: 4 hrs, 46 mins
Court Reporter: Jennifer Pancratz
                                                                     Start: 9:01 AM
                                                                     Stop: 3:35 PM
